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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

JAMES FICKEN, trustee,
SUNCOAST FIRST TRUST; and
SUNCOAST FIRST TRUST,

      Plaintiffs,

      vs.                                                 Case No.: 8:19-cv-01210
                                                          State Court Case No.: 19-003181-CI
CITY OF DUNEDIN, FLORIDA;
DUNEDIN CODE ENFORCEMENT BOARD;
MICHAEL BOWMAN, in his official capacity as Code
Enforcement Board Chairman; LOWELL SUPLICKI,
in his official capacity as Code Enforcement Board
Vice-Chair; ARLENE GRAHAM, in her official
capacity as a member of the Code Enforcement Board;
KEN CARSON, in his official capacity as a member
of the Code Enforcement Board; WILLIAM
MOTLEY, in his official capacity as a member
of the Code Enforcement Board; DAVE PAULEY,
in his official capacity as a member of the Code
Enforcement Board; and BUNNY DUTTON, in
her official capacity as a member of the Code
Enforcement Board,

      Defendants.
                                                /

                  PLAINTIFFS’ MOTION TO COMPEL
      PRODUCTION OF DOCUMENTS AND INTERROGATORY RESPONSES


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                                    I.      INTRODUCTION

         Jim Ficken filed this lawsuit against the City of Dunedin after it imposed about $30,000

in fines and threatened to foreclose on his home for having long grass. There are two overarching

issues: (1) whether the fines and foreclosure are excessive and (2) whether they offend due

process, mainly because Jim did not receive sufficient notice of the violations. 1 The parties are

now concluding discovery. Unfortunately, the City has refused to provide routine information as

basic as how serious it is to have long grass. Much of the City’s argument is that, because Jim

has not argued that the City can never fine people for tall grass, he cannot get discovery about his

specific case. But this and the City’s other objections are wrong. Jim is now forced to ask the

Court to intervene and compel responses to ten outstanding discovery requests.


                                     II.    BACKGROUND

         On July 5, 2018, a City code inspector noticed that the grass at Jim Ficken’s house was

taller than ten inches. Dunedin Code Enforcement Bd., Sept. 4, 2018 minutes 19 (ECF 34-1,

Ex. E). At the time, and for the next few weeks, Jim was out of town in South Carolina; the grass

was too long because the man he had hired to mow it had died. Ficken Depo. 132:1–13, 134:4–9,

137:9–17 (ECF 33-1); see also Am. Compl. ¶¶ 68–70 (ECF 22). But, Jim alleges, it was not until

nearly two months had passed, on August 20, that the City told him that it would be fining him.

Am. Compl. ¶¶ 74–78. Jim promptly cut the grass. ECF 34-1 at 19. Nonetheless, the City applied

a “repeat offender” provision to fine Jim $500 per day of violation, including for another ten

alleged days starting on August 31. Id. The total came to $28,500 (plus fees). This was the first




1
    The City’s Motion to Dismiss on these issues (ECF 24) is pending.

                                                 1
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time the City had ever fined Jim for anything. Nevertheless, it assessed him the maximum daily

penalty allowed by law. See 30(b)(6) Depo. 109:5–8 (Ex. A).2

         Jim sued under the Excessive Fines and Due Process clauses (and their Florida

analogues). See Am. Compl. ¶¶ 102–52. His discovery requests have been modest—just 17

requests total. But of those 17 requests, the City has refused to provide answers to six of the nine

interrogatories. And the City has refused to produce documents for four of the eight requests for

production (and two of the document requests are still pending). See City’s Resp to Pls.’

Requests for Produc. (Ex. B); City’s Answers Pls.’ 1st Interros. (Ex. C). Even though the

proportionality of fines is fact-specific, the City asserts that key information about Jim and the

code-enforcement system is irrelevant. That information falls into seven categories, each of

which Jim discusses in turn below:

             A. Information about the seriousness of having long grass,

             B. The City’s audits of its own code-enforcement system,

             C. Information about the City’s ability to mow overgrown lawns,

             D. Details of what happened in the summer of 2018,

             E. Information about other code-enforcement fines in the City,

             F. Information about the City’s financial motive to impose large fines, and

             G. Employment records for relevant code inspectors.




2
    All exhibits cited are attached to the accompanying Declaration of Andrew Ward.

                                                  2
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Jim and the City have sent each other letters and emails about the dispute, have conferred in

good faith, and cannot agree on the resolution of this motion.3


                                       III.    ARGUMENT

       Under Fed. R. Civ. P. 26(b)(1), Jim “may obtain discovery regarding any nonprivileged

matter that is relevant to” his claims, so long as that discovery is “proportional to the needs of the

case.” The City’s objections concern relevance, see Ex. E, not proportionality (or privilege), so

Jim now explains exactly why each of the ten requests is relevant. In Section A, Jim also rebuts

the City’s specific relevance objection that he cannot receive discovery because he has not

challenged the City’s entire ability to fine people for having long grass.

    A. RFP 5 AND INTERROGATORY 6—HARMS OF LONG GRASS

       Jim begins with the heart of the case: how bad it is to have long grass. In Request for

Production 5, he sought:

       All Documents reflecting any negative effects of overgrown lawns, including
       possible negative effects on surrounding property values, neighborhood
       aesthetics, and human health.

       [Answer: Objection. This request is not reasonably calculated to lead to the
       discovery of admissible evidence. There is no claim or defense in this case
       challenging the validity of the City’s regulation of overgrown grass or the
       rationale for adopting an ordinance regulating the height of grass.]

Ex. B at 3. Similarly, in Interrogatory 6, he asked the City to

       Identify and explain what, if any, evidence Dunedin has of any negative effects of
       overgrown lawns, including possible negative effects on surrounding property
       values, neighborhood aesthetics, and human health.




3
 Undersigned counsel certifies this as required by Local Rule 3.01(g). Copies of the
correspondence between counsel are attached as Exhibits D, E, and F. Counsel also conferred in
person on February 19, 2020.

                                                  3
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       [Answer: Objection. This interrogatory is not reasonably calculated to lead to the
       discovery of admissible evidence. There is no claim or defense in this case
       directed toward the validity of the provision of the City’s Code of Ordinances
       governing growth of weeds, grass, or turf.]

Ex. C at 4.

       These requests are plainly relevant to the excessiveness claims. Whether fines are

excessive turns on whether they are grossly disproportionate to the offense. And although “[t]he

relevant factors will necessarily vary from case to case,” “the core of proportionality review is a

comparison of the severity of the fine with the seriousness of the underlying offense.” United

States v. One Parcel Prop. Located at 427 & 429 Hall St., 74 F.3d 1165, 1172 (11th Cir. 1996)

(emphasis added); see also United States v. Bajakajian, 524 U.S. 321, 334 (1998) (defining

excessiveness through “the gravity of the … offense”). Indeed, the City “recognize[s] that the

gravity of a defendant’s offense is a crucial part of the analysis under the Eighth Amendment.”

Ex. E at 2.

       That alone should resolve these objections. The harms of overgrown grass directly relate

to how serious it is to have overgrown grass for a few weeks. If the City has evidence that

overgrown lawns are harmful, or that Jim’s lawn was harmful, it can say so, and Jim’s offense

will tend to be more serious than without that evidence. If the City does not have evidence, Jim

should know that so he can prove his offense is less serious.

       This is precisely how the analysis worked in Bajakajian, the leading Excessive Fines

case. Bajakajian concluded that it was excessive for the government to keep about $350,000 that

someone had failed to declare at the border. 524 U.S. at 324. That was because the crime of not

declaring cash “was solely a reporting offense” that caused only “minimal” harm. Id. at 337–39.

It “affected only one party, the Government, and in a relatively minor way.” Id. at 339. Similarly,



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the Court here will eventually do the same analysis for the offense of having long grass. To do

so, it will need to consider the evidence (if there is any) of who is harmed by long grass and how

much they are harmed. So information about that is relevant.

        Based on its correspondence, the City does not dispute this line of reasoning. Instead, its

relevance objection (here and elsewhere) seems to be that the fines are authorized by the City

code and Florida statute, and Jim is not challenging everything about the code and statute:

        Moving to request number 5 and interrogatory number 6, the City stands by its
        objection. Your client has not brought a challenge to the validity or
        constitutionality of the City’s ordinances regulating overgrown grass. While I
        recognize that the gravity of a defendant’s offense is a crucial part of the analysis
        under the Eighth Amendment, the “negative effects” of overgrown lawns are a
        matter of legislative judgment set forth in ordinances which have not been
        challenged.

Ex. E at 2 (emphasis added). The City thus accepts that “a crucial part of the analysis” is the

“gravity of the offense.” It then refuses to provide information directly relevant to the gravity of

the offense. This is because, the City argues, Jim has not alleged that the City can never fine

people for tall grass.4

        This objection makes no sense. The Excessive Fines Clause would be an empty promise

if it prohibited only fines assessed for violating laws that are unconstitutional. See, e.g., Pls.’

Response to Mot. Dismiss 1st Am. Compl. 11–12 (ECF 29) (explaining that the Excessive Fines




4
  In its correspondence, the City tacitly admits that its discovery objections are nothing more than
a reflection of its general argument that Jim cannot win on the merits: “[Y]ou are not challenging
the constitutionality of Chapter 162, Chapter 22, or the City’s code provisions governing the
height of grass. I disagree that a constitutional challenge can be sustained under these
circumstances.” Ex. F at 6. Such an argument is perhaps appropriate in a motion to dismiss—
though the City did not even raise it there—or on summary judgment. But this is a discovery
dispute. And the City cannot withhold relevant, unprivileged information simply because it
believes that it should win.

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 Clause applies to all fines, not just those already otherwise prohibited by law). Whether or not

 Jim challenges the entire concept of any fine for long grass, his fines are still subject to

 constitutional scrutiny. That, in turn, means he can discover information about the seriousness of

 the offense. Bajakajian itself is a good example. The defendant there did not challenge the

 federal law requiring travelers to declare whether they possessed more than $10,000 in cash.

 524 U.S. at 337 n.11. But even though there was no challenge to the relevant law generally, the

 Court still considered the seriousness of his offense to determine that a $350,000 fine was

 excessive. Id. at 337–39.

        There is simply no support for the notion that the City’s own manufactured disagreement

 with how Jim has framed his case excepts the City from complying with the basic rules of

 discovery. But the City goes even further. In support of its objection, the City withholds

 information on the basis that Jim’s discovery requests are not even relevant to the claims the City

 believes Jim should have made:

        The requests are not reasonably calculated to lead to the discovery of admissible
        evidence because they are not probative of whether Chapter 162, Fla. Stat., or
        Chapter 22, [City Code of Ordinances], are facially constitutional or have been
        applied constitutionally to Mr. Ficken.

 Ex. E at 2. In other words, the City argues that information “crucial” to this Court’s analysis of

 the claims Jim did make is nevertheless not discoverable because it is irrelevant to claims he did

 not. That is not a legitimate basis for an objection.

        Put simply, this case is about how serious it is to have long grass. And even the City

 acknowledges that the harms of long grass are relevant—in fact, “crucial.” Discovery on that

 topic is appropriate.

    B. RFP 3—THE CITY’S OWN VIEW OF ITS CODE-ENFORCEMENT SYSTEM

        Jim next seeks the City’s own reviews of how its code-enforcement system operates:

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        All internal audits or similar reviews concerning Dunedin code enforcement or
        the Dunedin Code Enforcement Board, including the “best practices” review of
        code enforcement discussed at the August 20, 2019 Dunedin City Commission
        work session, for the period beginning in July 2007 to present.

        [Answer: Objection. This request is not reasonably calculated to lead to the
        discovery of admissible evidence. Specifically, the request is impermissibly
        ambiguous in its request for “similar reviews.” Further, there is no claim or
        defense in the case based on whether the City has audited or reviewed its code
        enforcement policies at a public hearing or otherwise.]5

 Ex. B at 2–3. These reviews are relevant because they address whether the City’s fines tended to

 be too harsh or whether its code enforcement tended to have insufficient process.

        This is not a shot in the dark. As it turns out, in January, a consulting firm hired to review

 the City’s code enforcement system published a report it prepared as part of the City’s response

 to this lawsuit.6 That report referred to City code-enforcement fines as “outrageous,” “extremely

 high,” and delivering “aggressive blows.” Calvin, Giordano & Assocs., Assessment of Dunedin’s

 Code Enforcement Process 6 (Jan. 10, 2020) (“Assessment”). The same report refers to

 “concerns with service.” Id. at 3. These statements are obviously relevant in a case about

 excessive fines and notice. And if the City has similar reviews, they are similarly relevant.

        The City’s response is that “the salient viewpoint on these constitutional issues is not that

 of the City—it is that of the reviewing court,” and, similarly, that “the City’s viewpoints on the

 Code Enforcement Board’s processes … have no bearing on the issues.” Ex. E at 1. But the fact

 that this Court will ultimately resolve the case does not mean that the City’s views are irrelevant.




 5
   The City did not maintain its vagueness objection after Plaintiffs elaborated. Ex. D at 2; Ex. E
 at 2.
 6
   The report is available at https://legistarweb-production.s3.amazonaws.com/uploads/
 attachment/pdf/514885/CODE_ENFORCEMENT_PROCESSES_-DUNEDIN_-revision_1-10-
 2020.pdf

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 Code-enforcement audits could easily contain not just viewpoints, but facts (for example, that the

 harms of cosmetic code violations are minimal). And regardless, viewpoints are discoverable.

 See Fed. R. Civ. P. 33(a)(2) (explaining that interrogatories may seek an “opinion or contention

 that relates to fact or the application of law to fact”); Fed. R. Civ. P. 36(a)(1)(A) (explaining that

 requests for admission may concern “facts, the application of law to fact, or opinions about

 either”). This case concerns whether particular code-enforcement fines are outrageous. And there

 is at least one audit in the City’s possession that says some of its code-enforcement fines are

 “outrageous.” Jim should be allowed to see if there are others.

    C. INTERROGATORY 4—THE CITY COULD HAVE JUST MOWED THE LAWN

        Jim’s next request concerns whether the City could have just mowed the lawn and billed

 him rather than fining him $30,000. Interrogatory 4 asked the City to

        Identify each instance since January 1, 2015, in which Dunedin mowed a property
        owner’s lawn and billed the property owner, and explain the process by which
        Dunedin typically takes such actions, including how Dunedin decides whether to
        mow someone’s lawn, the typical cost of a mowing, the frequency of mowing at a
        particular property, etc.

        [Answer: Objection. This interrogatory is not reasonably calculated to lead to the
        discovery of admissible evidence. Whether the City has ever mowed a property
        owner’s lawn and billed the owner for same or the decision-making process
        undertaken in doing so is not at issue in this lawsuit. There is no claim or defense
        in this case based upon the availability of alternative mechanisms to address or
        remediate code violations at Plaintiff’s property or other properties in the City.]

 Ex. C at 3–4.

        This allegation is integral to the heart of the excessiveness analysis: the nature and harm

 of the offense. See Bajakajian, 524 U.S. at 337–39. If the City could have easily addressed the

 problem, but elected not to, that would indicate that tall grass is not a particularly grave offense

 warranting major fines. And if the City could have simply remedied the violation itself and sent

 Jim a modest bill for its services, that would further suggest that Jim’s offense was indeed minor

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 and caused nowhere near $30,000 of harm. 7 Courts considering excessiveness regularly compare

 fines to the actual costs of addressing the problem. See Wright v. Riveland, 219 F.3d 905, 914,

 918 (9th Cir. 2000) (finding deductions from inmate income were excessive as pleaded when

 they “b[ore] no relationship to the costs of incarceration”); Farina v. Metro. Transp. Auth.,

 409 F. Supp. 3d 173, 202–03 (S.D.N.Y. 2019) (finding $1,305 in fines for unpaid tolls were

 excessive as pleaded when “they b[ore] no connection to the actual cost of collecting unpaid

 tolls”); Cassidy v. Madoff, No. 818CV00394BKSDJS, 2020 WL 554529, at *14 (N.D.N.Y. Feb.

 4, 2020) (finding $20,000 fine for not having workers’ compensation insurance was excessive as

 pleaded when the cost of insurance premiums was $767). The Court here should do the same.

 For that to happen, the City needs to turn over evidence.

     D. INTERROGATORIES 8 AND 9—WHAT HAPPENED THAT SUMMER

        The City has also refused to turn over evidence about some of the most basic details of

 what happened the summer it fined Jim. Soon after this lawsuit was filed, the City hired a public

 relations team and promoted its own counternarrative in the news media. In interrogatories 8 and

 9, Jim just asked if that counternarrative was true:

        [Interrogatory 8] In a June 6, 2019 ABC Actions News Report, Dunedin
        spokesman Ron Sachs identified Plaintiff Jim Ficken as “a chronic scofflaw who
        ignores code-enforcement notifications.” Explain the basis for this statement,
        including by identifying any specific instances in which Mr. Ficken ignored a
        code-enforcement notification that he received.

        [Answer: Objection. This interrogatory is not reasonably calculated to lead to the
        discovery of admissible evidence. The opinion of Dunedin’s spokesman is not
        relevant to whether Chapter 162, Fla. Stat. or Chapter 22, Code of Ordinances,




 7
   It also indicates, as discussed below for Interrogatory 7, that the City is prioritizing revenue
 over compliance. See Am. Compl. ¶ 66 (“Upon information and belief, the City did not [mow the
 lawn itself] because it prioritizes revenue over code compliance.”).

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           City of Dunedin, Florida are constitutional on their face or as they have been
           applied to Plaintiff.]

           [Interrogatory 9] In a May 16, 2019 Tampa Bay Times story, Dunedin City
           Manager Jennifer Bramley “contend[ed] that a code enforcement official visited
           Ficken around July 5 to warn him about the hefty fines if he did not comply.”
           Explain the specific basis for this contention, including by listing the date of every
           interaction between code-enforcement officials and Mr. Ficken from July 5, 2018,
           to August 21, 2018.

           [Answer: Objection. This interrogatory is not reasonably calculated to lead to the
           discovery of admissible evidence. The opinion of Dunedin’s spokesman is not
           relevant to whether Chapter 162, Fla. Stat. or Chapter 22, Code of Ordinances,
           City of Dunedin, Florida are constitutional on their face or as they have been
           applied to Plaintiff.]

 Ex. C at 4–5.
           Answers to these basic questions—Does Jim ignore code-enforcement notifications? Was

 he told of the violation on the first day?—are discoverable. And the City agrees. See Ex. E at 2

 (“Regarding interrogatory number 9, I do not disagree that a code enforcement officer’s having

 visited Mr. Ficken on or about July 5, 2019 [sic] is or may be relevant.”). The City objects only

 because the interrogatories refer to what it wrongly calls “hearsay upon hearsay.” Statements by

 the City Manager and by someone whom the City hired to speak on its behalf, however, are party

 statements, not hearsay. Fed. R. Evid. 801(d)(2). 8

           This objection is the sort of form-over-substance that the Rules are supposed to avoid.

 There is simply no rule that discovery requests may not refer to the news. And there is no

 meaningful difference between asking whether the City has a basis to believe that Mr. Ficken

 ignores code enforcement and asking whether the City’s hired spokesman has any basis for




 8
     In any event, information need not be admissible to be discoverable. Fed. R. Civ. P. 26 (b)(1).

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 saying that Mr. Ficken ignores code enforcement. The City should answer these simple fact

 questions accordingly.

    E. RFP 4 AND INTERROGATORY 1—OTHER FINES

         Jim next seeks information about other code-enforcement fines. Interrogatory 1 asked the

 City:

         For all Dunedin-imposed code-enforcement fines greater than $5,000 since
         January 1, 2015, list the recipient of the fine, the violation(s), and the number of
         days the violation(s) continued.

         [Objection. This interrogatory is not reasonably calculated to lead to the discovery
         of admissible evidence. Given our exchanges today, the basis for the objection is
         obvious: whether or not others had fines that aggregated to $5,000 or more does
         not bear on the facial or as-applied constitutionality of Ch 162 or Ch 22.]

 Ex. C at 3; Ex. F at 2. Similarly, request for production 4 sought:

         Documents sufficient to identify all code violations in Dunedin for overgrown
         grass since January 1, 2015, the durations of the violations, and the fines imposed
         therefor.

         [Answer: Objection. This request is not reasonably calculated to lead to the
         discovery of admissible evidence. Specifically, whether the City has cited any
         other property for overgrown grass or the duration and fines attributable to the
         violation is not at issue in this lawsuit. There is no claim or defense in this case
         based upon the City’s ability to enact or enforce an ordinance governing
         overgrown grass or to fine an individual property owner for such violation.]

 Ex. B at 3.

         This information is relevant to the questions of both proportionality and notice. For

 example, if the evidence reveals that there were very few fines for tall grass in excess of $5,000,

 that would indicate that the City does not think long grass is serious and thus that Jim’s treatment

 was bizarrely harsh. Or comparing Jim’s offense to others that generated similar fines might

 show that his offense was fined as much as far more serious ones. And with respect to notice,

 discovery about other fines could reveal that the City has a practice of delaying notification to



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 homeowners, with the result of running up profits. Given their obvious value to this Court’s

 proportionality and notice analyses, these minimally burdensome requests should be answered.

    F. INTERROGATORY 7—PROFIT INCENTIVE

         Jim also seeks to discover whether the City is using its code-enforcement system not to

 achieve code compliance, but to raise revenue. Am. Compl. ¶ 52. Indeed, the City’s revenue

 from fines increased some 38-fold between 2007 and 2018. Id. ¶ 64. And code inspector Mike

 Kepto saw himself as “a financial asset” who sent “a record number of cases” to the Code

 Enforcement Board. Ex. G at 2–3. In light of this information, Jim sought information about the

 City’s apparent profit incentive in Interrogatory 7:

         For fiscal years 2010 to present, explain what percentage of Dunedin’s total fines
         and fees revenue came from code enforcement and identify the basis for this
         calculation.

         [Answer: Objection. This interrogatory is not reasonably calculated to lead to the
         discovery of admissible evidence. The revenue received by the City from code
         enforcement is not relevant to whether Chapter 162, Fla. Stat. or Chapter 22,
         Code of Ordinances, City of Dunedin, Florida are constitutional on their face or as
         they have been applied to Plaintiff.]

 Ex. C at 4.

         This information bears on the excessiveness analysis. As the Supreme Court just

 explained, governments have an incentive to impose unfair fines when they make money off

 them:

         Even absent a political motive, fines may be employed “in a measure out of
         accord with the penal goals of retribution and deterrence,” for “fines are a source
         of revenue,” while other forms of punishment “cost a State money.” Harmelin
         v. Michigan, 501 U.S. 957, 979, n. 9 (1991) (opinion of Scalia, J.) (“it makes
         sense to scrutinize governmental action more closely when the State stands to
         benefit”). This concern is scarcely hypothetical. See Brief for American Civil
         Liberties Union et al. as Amici Curiae 7 (“Perhaps because they are politically
         easier to impose than generally applicable taxes, state and local governments
         nationwide increasingly depend heavily on fines and fees as a source of general
         revenue.”).

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 Timbs v. Indiana, 139 S. Ct. 682, 689 (2019). The City’s appetite for fines is thus crucial to

 deciding whether a $30,000 fine is “out of accord” with the “retribution and deterrence”

 necessary for an overgrown lawn. A profit incentive would also be relevant to the due process

 claims because a profit incentive would motivate the City to delay notice to people like Jim and

 thereby rack up massive code-enforcement fines. The City has thus far insisted that the purpose

 of its system of fines is to achieve compliance. Ex. A. 189:2–190:4, 203:21–24. But the recent

 audit of the City’s code enforcement practices criticized the City’s use of “rolling fines”

 specifically because it was a heavy-handed method that often failed to achieve compliance (but

 often succeeded in exacting severe financial harm). Assessment 6.

     G. RFP 6—CODE-INSPECTOR EMPLOYMENT RECORDS

        Finally, Jim seeks personnel information about the two code inspectors involved, Tom

 Colbert, who issued the excessive long-grass citation in 2018 and was responsible for notifying

 Jim about it, and Mike Kepto, who issued the earlier citation to Jim that became the basis of his

 “repeat offender” status. Thus Request for Production 6: “The personnel files of code inspectors

 Thomas Colbert and Mike Kepto.” Ex. B at 3. 9 Based on information already gathered, it is

 evident that those files will reflect how inspectors Colbert and Kepto viewed their respective

 roles with the City as inspectors and revenue-generators. This information bears directly on

 whether their interactions with Jim—along with whatever incentives motivated those

 interactions—were proper. See, e.g., Moss v. GEICO Indem. Co., No. 5:10-CV-104-OC-10TBS,

 2012 WL 682450, at *5 (M.D. Fla. Mar. 2, 2012) (allowing discovery of personnel files because




 9
   [Answer: Objection. This request is not reasonably calculated to lead to the discovery of
 admissible evidence. The personnel files of individual City employees are not probative of any
 claim or defense in this case.]

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 an employee’s “competence, abilities, [and] shortcomings” are relevant); Whitney v. Esurance

 Ins. Co., No. 13-61329-CIV, 2013 WL 12092069, at *2 (S.D. Fla. Oct. 18, 2013) (collecting

 other cases allowing discovery of personnel records).

        Indeed, what we already know of Mr. Kepto’s file proves these documents are relevant.

 At least some of it was in the City’s initial disclosures, 10 and it says that Mr. Kepto saw himself

 as “a financial asset to the city by the amount of liens collected.” Ex. G at 3. He thought one of

 his strengths was “set[ting] a record amount of cases sent to Code Enf. Board.” Id. at 2. His

 supervisor, however, thought that Mr. Kepto “Need[ed] Improvement” in “Judgment/

 Problem Solving,” meaning his “ability to think through situations, weigh factors involved, and

 make sound decisions,” and in “Customer Service/Communication,” meaning his “ability to

 interact positively with internal and external customers.” Id. at 4. That gels with his later firing

 for inappropriate behavior during a different code enforcement case. Ex. A 32:21–35:19. Under

 the standard for relevance—whether evidence “has any tendency to make a fact more or less

 probable,” Fed. R. Evid. 401(a)—information like this bears on whether Mr. Kepto was properly

 enforcing City codes. Part of Jim’s Due Process claim is that the City was not adequately

 communicating notice to him, and Mr. Kepto’s file states that he has a problem with

 “Communication.” If information like this exists for Mr. Colbert, that would be equally relevant.

 So the City should produce the remaining files.




 10
    With respect to Mr. Kepto, Jim is now requesting only confirmation that the original file was
 complete or production of the rest of it. Some pages do appear to be missing. See Ex. G (jumping
 from page one of a document to page three).

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              IV.    CONCLUSION AND REQUEST FOR ORAL ARGUMENT

        The Court should compel the City to produce documents responsive to requests 3, 4, 5,

 and 6 and fully answer interrogatories 1, 4, 6, 7, 8, and 9. The undersigned counsel requests oral

 argument on the motion, estimated at fifteen minutes per side, to provide further clarification to

 the Court.

        Respectfully submitted this 21st day of February 2020.

                               By:     /s/ Andrew Ward

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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 21st day of February 2020, a true and correct copy of

 Plaintiffs’ Motion to Compel Production of Documents and Interrogatory Responses was filed

 with the Clerk of the Court using the CM/ECF system, which will send a notice of electronic

 filing to the following CM/ECF participants:

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